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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-61065-CIV-ALTMAN/Hunt

 MICHEL RIVERA,

         Plaintiff,
 v.

 MRS BPO, LLC,

       Defendant.
 ________________________________/

                                                 ORDER

         The Federal Rules provide that, when “actions before the court involve a common question

 of law or fact, the court may . . . consolidate the actions.” FED. R. CIV. P. 42(a). Accordingly, the Court

 hereby ORDERS AND ADJDUGES as follows:

         1. Case Numbers 21-cv-61405-RKA, 21-cv-61570-RKA, 21-cv-61543-RKA, 21-cv-22861-

              RKA, and 21-cv-22862-RKA are hereby CONSOLIDATED into Case Number 21-cv-

              61065-RKA.

         2. Case Numbers 21-cv-61405-RKA, 21-cv-61570-RKA, 21-cv-61543-RKA, 21-cv-22861-

              RKA, and 21-cv-22862-RKA shall be administratively CLOSED. All future filings shall

              be made under Rivera v. MRS BPO, LLC, 21-cv-61065-RKA.

         3. Any pending motions in Case Numbers 21-cv-61405-RKA, 21-cv-61570-RKA, 21-cv-

              61543-RKA, 21-cv-22861-RKA, and 21-cv-22862-RKA are DENIED AS MOOT.

         4. By August 30, 2021, the Plaintiffs shall file a single, combined complaint, which will

              govern this case.

         5. This Order is without prejudice to any party filing a future motion for separate trials under

              FED. R. CIV. P. 42(b).

         6. The Clerk shall docket this Order in the following cases:
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              a. Rivera v. MRS BPO, LLC, 21-cv-61065-RKA.

              b. Etienne v. MRS BPO, LLC, 21-cv-61405-RKA.

              c. Ramlochan v. MRS BPO, LLC, 21-cv-61570-RKA.

              d. Israr v. MRS BPO, LLC, 21-cv-61543-RKA.

              e. Araujo v. MRS BPO, LLC, 21-cv-22861-RKA.

              f. Guasto v. MRS BPO, LLC, 21-cv-22862-RKA.

       DONE AND ORDERED in Fort Lauderdale, Florida this 16th day of August 2021.




                                                _________________________________
                                                ROY K. ALTMAN
                                                UNITED STATES DISTRICT JUDGE

 cc:   counsel of record




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